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       ORDERED in the Southern District of Florida on September 19, 2023.




                                                 Robert A. Mark, Judge
_____________________________________________________________________________
                                                 United States Bankruptcy Court


                                   UNITED STATES BANKRUPTCY COURT
                                    SOUTHERN DISTRICT OF FLORIDA
                                            MIAMI DIVISION


       IN RE:

        CARLOS GARCIA,                                         CASE NO.: 22-17692-RAM
                                                               CHAPTER 13
               Debtor(s).
        ______________________________________/

                                    ORDER GRANTING CREDITOR’S
                             MOTION FOR RELIEF FROM THE AUTOMATIC STAY
                             TO ENFORCE FINAL JUDGMENT OF FORECLOSURE
                             Property Address: 1575W 6TH AVE, HIALEAH, FL 33010

                THIS CAUSE came before the Court on September 19, 2023, on Creditor's, U.S. Bank

       National Association, not in its individual capacity but solely as trustee for the RMAC Trust, Series 2016-

       CTT ("Creditor"), Motion for Relief from the Automatic Stay [D.E. 49]. The Court having

       considered the Motion and having been otherwise fully advised in the premises, it is

                ORDERED AND ADJUDGED:

                1.     Creditor's Motion for Relief from the Automatic Stay to Enforce Final Judgment of

       Foreclosure is GRANTED.
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        2.      The Automatic Stay imposed by 11 U.S.C. §362 is lifted as to this Creditor its

successors and/or assignees, and the Creditor may proceed with foreclosure of its lien on the

following property:

        LOT 53 OF LUNSFORD GARDENS, ACCORDING TO THE PLAT
        THEREOF AS RECORDED IN PLAT BOOK 30, PAGE 4, OF THE PUBLIC
        OF MIAMI DADE COUNTY FLORIDA.

        Property Address: 1575W 6TH AVE, HIALEAH, FL 33010

        3.   This Order is entered for the sole purpose of allowing Creditor, its successors and/or

assignees, to obtain an in rem judgment against the property described above. Creditor shall not

seek an in personam judgment against Debtor(s).

        4.   The 14 day stay of the Order Granting Relief pursuant to Bankruptcy Rule 4001(a)(3)

is waived so that Creditor can pursue its in rem remedies.

        5.   The Trustee shall disburse no further payments to Creditor, U.S. Bank National
Association, not in its individual capacity but solely as trustee for the RMAC Trust, Series 2016-CTT
pursuant to Claim No. 1 filed on November 15, 2022.


                                                ###



Submitted by:

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Diaz Anselmo & Associates, P.A.
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Attorneys for Creditor

Attorney for Creditor, Ida A. Moghimi-Kian, is directed to serve copies of this order on the
parties listed and file a certificate of service.
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Copies furnished to:

CARLOS GARCIA
1575 WEST 6 AVENUE
HIALEAH, FL 33010
Debtor(s)

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MIAMI LAKES, FL 33016
Attorney for Debtor(s)

NANCY K. NEIDICH
PO BOX 279806
MIRAMAR, FL 33027
Trustee

UNITED STATES TRUSTEE
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MIAMI, FL 33130
U.S. Trustee
